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4    Attorney for Defendant
     Gabriel Viramontes
5
                          UNITED STATES DISTRICT COURT
6                        EASTERN DISTRICT OF CALIFORNIA
7

8    UNITED STATES OF AMERICA         )
                                      )         No. Cr.S-07-432 EJG
9                    Plaintiff        )
                                      )
10             vs.                    )         WAIVER OF PERSONAL APPEARANCE
                                      )
                                      )                and ORDER
11   GABRIEL RICHARD VIRAMONTES       )
                                      )
12                                    )
                                      )
13                   Defendant        )
                                      )
14

15        Pursuant to Federal Rules of Criminal Procedure, Rule

16   43(c)(3), defendant, Gabriel Viramontes hereby waives the right

17   to be present in person in open court upon the hearing of any

18   motion or other pre-trial proceeding in this cause, including,

19   but not limited to, when the case is ordered set for trial, when

20   a continuance is ordered, and when any other action is taken by

21   the court before or after hearing, except upon arraignment,

22   plea, trial confirmation, trial, impanelment of jury and

23   imposition of sentence.

24        Defendant Gabriel Viramontes, hereby requests the court to

25   proceed during every absence of him which the court may permit

     pursuant to this waiver; agrees that his interests will be


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1    deemed represented at all times by the presence of his attorney,

2    the same as if defendant Gabriel Viramontes were personally

3    present and further agrees to be present in court ready for
4    hearing any day and hour the court may fix in his absence.

5         Defendant Gabriel Viramontes further acknowledges that he

6    has been informed of his rights under Title 18 U.S.C. sections
7    3161-3174 of the Speedy Trial Act, and authorized his attorney
8    to set times and delays und the Act without defendant Gabriel
9    Viramontes being present and agrees to waive any and all time
10   under both the Sixth Amendment to the Constitution and the
11   Speedy Trial Act regarding his rights to a speedy public jury
12   trial.
13

14   DATED March 28, 2008                /S/ GABRIEL VIRAMONTES
                                         Original on file with attorney
15                                       Gabriel Viramontes
                                         9414 Leal Court
16
                                         Elk Grove, California
17

18
                                   ORDER (Proposed)
19

20
     IT IS SO ORDERED
21

22   DATED: April 3, 2008                     /s/ Edward J. Garcia
                                         Hon. Edward J. Garcia, Jr.
23
                                              Judge, U.S. District Court
                                              Eastern District, California
24

25




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